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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

Case No. 5:20-cv-02035-AFM                                            Date: October 13, 2021
Title      Kelly J. Maese v. Kilolo Kijakazi



Present: The Honorable:      ALEXANDER F. MacKINNON, U.S. Magistrate Judge
                  Ilene Bernal                                            N/A
                  Deputy Clerk                                   Court Reporter / Recorder

         Attorneys Present for Plaintiff:                    Attorneys Present for Defendant:
                      N/A                                                  N/A

Proceedings (In Chambers): ORDER TO SHOW CAUSE

       Pursuant to the Order Re Procedures in Social Security Appeal (ECF No. 7), Plaintiff’s
Memorandum in Support of Complaint is due 35 days after the filing of the Answer and Certified
Administrative Record. According to the docket, the Answer was filed on August 25, 2021.
Therefore, Plaintiff’s Memorandum in Support of Complaint was due on September 29, 2021. The
docket shows that, as late as the date of this Order, plaintiff has not filed the Memorandum in
Support of Plaintiff’s Complaint. Plaintiff has failed to comply with the Court’s Order.

        Accordingly, IT IS ORDERED that within 20 days of the filing date of this Order, plaintiff
shall show cause in writing why this action should not be dismissed. The filing of Plaintiff’s
Memorandum in Support of Complaint within 20 days shall discharge the order to show cause and
all other deadlines required by the Case Management Order will be extended accordingly.

        IT IS SO ORDERED.




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                                                                   Initials of Preparer           ib




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